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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      February 12, 2024
By ECF
The Honorable Dale E. Ho
United States District Judge
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

         Re:     United States v. M/Y Amadea, No. 23-cv-9304 (DEH)

Dear Judge Ho:

        I write on behalf of Plaintiff the United States of America (the “Government”) to provide
the Court with information relevant to the pending motion to dismiss the Government’s Complaint.
Claimants Eduard Khuadainatov and Millemarin Investments Ltd. (together, “Claimants”) filed
that motion on January 26, 2024. ECF No. 25. Pursuant to Local Civil Rule 6.1(b), the
Government’s deadline to file an opposition to the motion was February 9, 2024. However, on
February 9, the Government served Claimants with a set of special interrogatories pursuant to Rule
G(6) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
and by so doing, stayed the deadline for opposing the motion until 21 days after Claimants respond
to the interrogatories. 1 Supp. R. G(6)(c). The Government also anticipates filing an Amended
Complaint that will moot Claimants’ pending motion before its response to that motion is due.

         We thank the Court for its consideration of this submission.

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney
                                                      Southern District of New York

                                                  By: /s/ Jennifer Jude
                                                     JENNIFER JUDE
                                                     MICHAEL LOCKARD
                                                     Assistant United States Attorneys




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    Claimants’ responses to the interrogatories are due March 1, 2023. Supp. R. G(6)(b).
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                                          MARGARET A. MOESER
                                          Acting Chief
                                          Money Laundering and Asset Recovery
                                          Section, Criminal Division
                                          U.S. Department of Justice

                                          By: /s/ Joshua L. Sohn
                                          JOSHUA L. SOHN
                                          Trial Attorney
                                          Money Laundering and Asset Recovery
                                          Section


                                          JENNIFER KENNEDY GELLIE
                                          Acting Chief
                                          Counterintelligence and Export Control
                                          Section, National Security Division
                                          U.S. Department of Justice

                                          By: /s/ Yifei Zheng
                                          YIFEI ZHENG
                                          Trial Attorney
                                          Counterintelligence and Export Control
                                          Section (CES)

cc: Claimants’ counsel (by ECF)
